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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER MDL NO. 1873

)
FORMALDEHYDE PRODUCTS maw
LIABILITY LITIGATION SECTION Neo
This applies to All Cases ; JUDGE ENGHEHARDI
MAGISTRATE CHASEZ
AFFIDAVIT
Before me, the undersigned notary public came:
James C. Percy
who after being duly sworn, did say:
1. My name is James C. Percy. I am a partner with the law firm of Jones, Walker,
Waechter, Poitevent, Carrere and Denegre, LP.
2 I was appointed as Co-Liaison Counsel for the Settling Defendants in the MDL

proceeding referenced above. The matters in this affidavit are based on my personal

knowledge.

3. In this litigation, issues of both fact and law are strenuously contested as between the
plaintiffs, on the one hand, and defendants generally, on the other hand. Defendants

would likely seek JNOV and/or appeal and/or otherwise vigorously oppose by all

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appropriate means any adverse jury verdict that might be obtained by any plaintiff in any

matter now or formerly before this Court in the captioned MDL proceeding.

Baton Rouge, Louisiana, this 25th day of May, 2012.

Rema

Jarhes C. Percy

Sworn and Subscribed before me,
this 25th day of May, 2012.

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Ryan E. Johnsop, Notary
La. Bar Roll No. 26352

My Commission Expires at
Death

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